Case 23-40709   Doc 70-2 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                  B - MA Certificate of Registration Page 1 of 4




                           Exhibit B
Case 23-40709        Doc 70-2 Filed 01/16/24 Entered 01/16/24 13:03:39                        Desc Exhibit
                       B - MA Certificate of Registration Page 2 of 4




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                               APPLICATION FOR REGISTRATION
                                                OF
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                                    WESTBOROUGH SPE LLC                          -                     l
                                                                                           et
                               (A Foreign Limited Liability Company)                   % IPA04,
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                                                                                                 1, 40          Pi
         Pursuant to the provisions of the Massachusetts Limited Liability Company Act (the        o,- tfr od,
 "Act"), the undersigned hereby certifies as follows:                                                   s illy
                                                                                                               lot
         1.      Federal Taxpayer Identification Number. The federal taxpayer identification
 number of the LLC has been applied for.

       2.       Name of the Limited_Liability Company. The name of the limited liability
 company (the "LLC") is Westborough SPE LLC.

        3.     State of Formation. The LLC was formed under the laws of the State of
 Delaware on October 22, 1997.

          4.      Business of the I Jr. The general character of the business the LLC proposes to
 do in the Commonwealth is to acquire, own, develop, construct, rehabilitate, improve, maintain,
 finance, manage, operate, lease, sell, convey, assign, mortgage and otherwise deal with real
 estate, and to own interests in incorporated and unincorporated entities engaged in any of the
 foregoing, and to carry on any related or unrelated lawful business, trade, purpose or activity.

         5.      Business Address of Principal Office. The business address of the principal
 office of the LLC is c/o Babcock & Brown Administrative Services, Inc., 2 Harrison Street, 6th
 Floor, San Francisco, CA 94105.

       6.     Manager(s). The name and address of the manager of the LLC is Babcock &
 Brown Administrative Services, Inc., 2 Harrison Street, 6th Floor, San Francisco, CA 94105.

         7.      Business Address in the Commonwealth The business address of the principal
 office of the LLC in the Commonwealth is c/o Corporation Service Company, 84 State Street,
 5th Floor, Boston, MA 02109.

         8.      Agent for Service of Process. The name and address of the resident agent for
 service of process for the LLC is Corporation Service Company, 84 State Street, 5th Floor,
 Boston, MA 02109.

           9.     Date of Dissolution. The LLC is to have no specific date of dissolution.

          10.      Execution of Documents Relating to Real Property. F. Jan Blaustein, President
 of Babcock & Brown Administrative Services, Inc., is authorized to execute, acknowledge,
 deliver and record any recordable instrument on behalf of the LLC purporting to affect an
 interest in real property, whether to be recorded with a registry of deeds or a district office of the
 Land Court.

          IN WITNESS WHEREOF, the undersigned hereby affirms under the penalties of perjury
 that the facts stated herein are true this 2 4 day of Danikte , 1997.

                                                    Babcock & Brown Administrative Services, Inc.




                                                    F. Jan B1 Iustein, Its President

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Case 23-40709    Doc 70-2 Filed 01/16/24 Entered 01/16/24 13:03:39                     Desc Exhibit
                   B - MA Certificate of Registration Page 3 of 4




                                                                              PAGE       1
                                State of Delaware
                       Office of the Secretary of State •


     I, EDWARD J. FREEL, SECRETARY OF STATE OF THE STATE OF

DELAWARE, DO HEREBY CERTIFY "WESTBOROUGH SPE LLC" IS DULY FORMED

UNDER THE LAWS OF THE STATE OF DELAWARE AND IS IN GOOD STANDING

AND HAS A LEGAL ExisTENcEotoitrartHE.aEcoRps OF THIS OFFICE

SHOW, AS OF THE
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                            FOURTH-DAY -OF   BER      2--
                                                   1997.

    AND I D,feOHEREBY FURTHER CERTIFY THATTHE4eNUAL TAXES HAVE

NOT BEEN ASSESSED TO DATE.


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                                                   Edward J. Fred Secretary of State
   2811561      8300                                AUTHENTICATION:          8720352

  971359389                                                       DATE:       10-24-97
Case 23-40709      Doc 70-2 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                     B - MA Certificate of Registration Page 4 of 4



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                     COMMONWEALTH OF MASSACHUSETTS
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                             SECRETARY'S OFFICE



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                            WILLIAM FRANCIS GALVIN
                       SECRETARY OF THE COMMONWEALTH-- ---



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